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 1   McGREGOR W. SCOTT
     United States Attorney
 2   JILL M. THOMAS
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2790
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-06-441 GEB
                                  )
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER RESETTING
13                v.              ) STATUS CONFERENCE, AND EXCLUDING
                                  ) TIME UNDER THE SPEEDY TRIAL ACT
14   DONALD HAYLES, et al.,       )
                                  )
15                    Defendants. )
     _____________________________)
16
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and Jill M. Thomas, Assistant United States Attorney,
20   and defendant Donald Hayles, through his counsel of record, Adam
21   Fein, Esq., hereby stipulate and agree that the status conference
22   set for May 9, 2008, be continued to May 30, 2008, at 9:00 a.m.
23         The parties are close to a resolution and defense counsel needs
24   additional time to prepare.      Therefore, the parties have agreed and
25   respectfully request that the Court set the date of May 30, 2008, at
26   9:00 a.m., for the status conference. Accordingly, the parties
27   ///
28   ///

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 1   stipulate that time be excluded pursuant to 18 U.S.C.
 2   § 3161(h)(1)(F) and Local Code T4 - additional time to prepare.
 3   IT IS SO STIPULATED.
 4                                                McGREGOR W. SCOTT
                                                  United States Attorney
 5
     Dated: May 1, 2008             By:    /s/ Jill M. Thomas
 6                                              JILL M. THOMAS
                                                Assistant U.S. Attorney
 7                                              Attorney for Plaintiff
 8
 9   DATED: May 1, 2008             By:    /s/ Adam Fein
                                                ADAM FEIN
10                                              Attorney for Defendant
                                                DONALD HAYLES
11
     ________________________________________________________________
12                                   ORDER
13        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
14   hereby ordered that this matter be set for further status conference
15   as set forth above.
16        The Court finds excludable time as set forth above to and
17   including May 30, 2008
18        IT IS SO ORDERED.
19   Dated:     May 1, 2008
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21                                        GARLAND E. BURRELL, JR.
22                                        United States District Judge

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